                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                   3:20-cv-00344-RJC
                               (3:17-cr-00276-RJC-DSC-2)

DEMONTE WITHERS,                     )
                                     )
                        Petitioner,  )
                                     )
            vs.                      )                             ORDER
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                        Respondent. )
____________________________________ )

        THIS MATTER is before the Court on Petitioner’s Motion under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody. [CV Doc. 1].1

I.      BACKGROUND

        On December 13, 2017, Petitioner Demonte Withers (“Petitioner”) was charged in a

Superseding Bill of Indictment with 17 counts for his role as senior member and de facto leader of

a hip hop group that referred to themselves as the “FreeBandz Gang” or “FBG.” FBG, led by

Petitioner, engaged in a series of fraud schemes, starting with a relatively simple bank fraud

scheme that evolved, through Petitioner’s guidance and influence, into a sophisticated identity

fraud scheme that resulted in more than $1.4 million in losses to the victim retailers. [See CR Doc.

19: Superseding Bill of Indictment; Doc. 121: Factual Basis]. Defendant was charged with two

counts of conspiracy to commit bank or wire fraud in violation of 18 U.S.C. § 1349 (Counts One

and Eighteen); four counts of bank fraud in violation of 18 U.S.C. § 1344(2) (Counts Three, Eight,


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  Citations to the record herein contain the relevant document number referenced preceded by either the
letters “CV,” denoting that the document is listed on the docket in the civil case file number 3:20-cv-00344-
RJC, or the letters “CR,” denoting that the document is listed on the docket in the criminal case file number
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Nine, and Thirteen); three counts of wire fraud in violation of 18 U.S.C. § 1343 (Counts Nineteen,

Twenty, and Twenty-Two); one count of possession of a document making implement or

authentication feature in violation of 18 U.S.C. § 1028(a)(5) (Count Twenty-Five); two counts of

illegal possession of device-making equipment in violation of 18 U.S.C. § 1029(a)(4) (Counts

Twenty-Six and Twenty-Seven); four counts of aggravated identity theft in violation of 18 U.S.C.

§ 1028A (Counts Thirty-Five, Thirty-Six, Thirty-Eight, and Forty-Two); and one count of

possession of a firearm while being a convicted felon in violation of 18 U.S.C. § 922(g) (Count

Forty-Five). [CR Doc. 19].

       The parties reached a plea agreement pursuant to which Petitioner agreed to plead guilty

to Counts One, Eighteen, and Forty-Two in exchange for the Government’s dismissal of the

remaining counts of the Superseding Indictment. [CR Doc. 119 at 1: Plea Agreement]. Petitioner’s

guilty plea was accepted by the Magistrate Judge on June 22, 2018 after a duly conducted Rule 11

hearing. [See CR Doc. 125: Acceptance and Entry of Guilty Plea]. Petitioner was sentenced on

March 21, 2019 to 84 months on each of Counts One and Eighteen, to be served concurrently, and

24 months on Count Forty-Two, to run consecutively to the sentences imposed on Counts One and

Eighteen, for a total term of imprisonment of 108 months. [CR Doc. 220 at 2: Judgment].

Judgment on Petitioner’s conviction was entered on April 24, 2019. [Id.]. Petitioner did not appeal

his conviction or sentence.

       On March 2, 2020, Petitioner moved for an extension of time to file a motion to vacate

pursuant to 28 U.S.C. § 2255 based on “circumstances beyond [his] control.” [CR Doc. 232]. The

Court denied Petitioner’s motion for more time by text order the same day. [3/2/2020 Docket

Entry]. On May 19, 2020 and June 2, 2020, Plaintiff filed letters in his criminal case essentially

claiming ignorance regarding how to complete a § 2255 motion, but not seeking any particular



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relief of the Court. [See CR Docs. 233, 236].

       On June 17, 2020, Petitioner filed a Motion under 28 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence. [CV Doc. 1]. Plaintiff claims to be entitled to relief based on improper

application of enhancements for his leadership role in the conspiracy and the loss amount

attributable to the conspiracy and based on ineffective assistance of counsel. [Id. at 4-5, 7].

Petitioner claims his counsel was ineffective for several reasons: (1) Petitioner told his attorney

that he wanted to appeal after sentencing and his attorney told Petitioner that “he didn’t think it

was a good idea;” (2) Petitioner would not have signed the plea agreement if he knew he was

subject to a 4-point leadership enhancement; (3) Petitioner was “under the impression” that the

dollar amount “[he] received was [the conspiracy’s] as a group not [his] alone;” (4) Petitioner

“didn’t agree with the factual basis;” and (5) he “was deprived of doing [his] PSR in person cause

[he] owed [his] lawyer funds.” [Id. at 7].

       Petitioner claims his § 2255 motion is timely because he “has been trying to file [it] for a

while” and “stayed in contact with the Charlotte division federal court house [sic] through mail

asking what steps to take….” [CV Doc. 1 at 12]. Petitioner further argues that he had “been in

the hole for the last 10 ½ months” and that “the prison has been locked down since early March

and still is lockdown.” [Id.].

II.    ANALYSIS

       In 1996, Congress enacted the Antiterrorism and Effective Death Penalty Act (the

“AEDPA”). Among other things, the AEDPA amended 28 U.S.C. § 2255 by imposing a one-year

statute of limitations period for the filing of a motion to vacate. Such amendment provides:

               A 1-year period of limitation shall apply to a motion under this
               section. The limitation period shall run from the latest of-

               (1) the date on which the judgment of conviction becomes final;

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               (2) the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the
               United States is removed, if the movant was prevented from making
               a motion by such governmental action;

               (3) the date on which the right asserted was initially recognized by
               the Supreme Court and made retroactively applicable to cases on
               collateral review; or

               (4) the date on which the facts supporting the claim or claims
               presented could have been discovered through the exercise of due
               diligence.

28 U.S.C. § 2255(f).

       Here, as noted, judgment was entered in this action on April 24, 2019, and Petitioner did

not appeal. Petitioner’s conviction, therefore, became final for purposes of Section 2255(f) on

May 8, 2019, fourteen days after judgment was entered.          See Fed. R. App. P. 4(b)(1)(A).

Accordingly, the one-year period of limitations under Section 2255 expired on May 7, 2020.

Petitioner did not mail his original motion to vacate until June 8, 2020. [See CV Doc. 1 at 13].

As such, Petitioner’s motion to vacate is untimely. See 28 U.S.C. § 2255(f).

       Furthermore, Petitioner has not stated grounds for application of equitable tolling. To be

entitled to equitable tolling, “an otherwise time-barred petitioner must present ‘(1) extraordinary

circumstances, (2) beyond his control or external to his own conduct, (3) that prevented him from

filing on time.’” United States v. Sosa, 364 F.3d 507, 512 (4th Cir. 2004) (quoting Rouse v. Lee,

339 F.3d 238, 246 (4th Cir. 2003), cert. denied, 541 U.S. 905, 124 S. Ct. 1605 (2004)). A petitioner

must show that he has been “pursuing his rights diligently.” Holland v. Florida, 560 U.S. 631, 649

(2010). Further, equitable tolling is limited to “rare instances – where due to circumstances

external to the party’s own conduct – it would be unconscionable to enforce the limitation period

against the party and gross injustice would result.” Whiteside v. United States, 775 F.3d 180, 184

(4th Cir. 2014) (quoting Rouse, 339 F.3d at 246).

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           Here, while Petitioner “stayed in contact” with the Clerk’s office in the Charlotte Division

after the deadline for filing his motion to vacate had expired, he failed to diligently pursue his

rights both before and after his motion for extension of time to file his motion to vacate was denied

on March 2, 2020. Petitioner plainly demonstrated his ability to communicate with the Court, yet

failed to timely file his motion to vacate, despite knowing that the Court denied his request for

more time. Petitioner’s circumstances are far from extraordinary and do not warrant equitable

tolling.

           The Court, therefore, denies and dismisses Petitioner’s motion.2

III.       CONCLUSION
           For the foregoing reasons, the Court denies and dismisses Petitioner’s § 2255 petition.

           IT IS, THEREFORE, ORDERED that:

           1.     Petitioner’s Amended Motion to Vacate, Set Aside or Correct Sentence under 28

                  U.S.C. § 2255 [Doc. 3] is DENIED and DISMISSED.

           2.     IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

                  Section 2254 and Section 2255 Cases, this Court declines to issue a certificate of

                  appealability. See 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 338

                  (2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that reasonable

                  jurists would find the district court’s assessment of the constitutional claims

                  debatable or wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (when relief is

                  denied on procedural grounds, a petitioner must establish both that the dispositive

                  procedural ruling is debatable and that the petition states a debatable claim of the

                  denial of a constitutional right).


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 The Court notes that, even if Petitioner’s motion were timely, it would be denied and dismissed on the
merits in any event. [See CV Doc. 1].
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  IT IS SO ORDERED.

Signed: September 25, 2020




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